                    Case 23-40316            Doc 1       Filed 02/22/23 Entered 02/22/23 16:27:09                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DFW Boat Specialists LLC dba AR Motors TX

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2401 Worthington Dr. Suite 106
                                  Denton, TX 76207
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Denton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    DFW Boat Specialists LLC dba AR Motors TX                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    DFW Boat Specialists LLC dba AR Motors TX                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 22, 2023
                                                  MM / DD / YYYY


                             X   /s/ Richard Gay                                                          Richard Gay
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing member




18. Signature of attorney    X   /s/ Eric A. Liepins                                                       Date February 22, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Eric A. Liepins
                                 Printed name

                                 Eric A. Liepins
                                 Firm name

                                 12770 Coit Road
                                 Suite 850
                                 Dallas, TX 75251
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     972-991-5591                  Email address      eric@ealpc.com

                                 12338110 TX
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name DFW Boat Specialists LLC dba AR Motors TX
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS                                                                           Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 AMERICAN                                                                                                                                                        $31,809.13
 EXPRESS CLASSIC
 GOLD CARD
 PO BOX 650448
 Dallas, TX 75265
 American Exprex                                                                                                                                                 $24,546.07
 Blue Business Plus
 PO Box 981535
 El Paso, TX
 79998-1535
 Axle Funding                                                                                                                                                    $44,073.00
 14951 Dallas Pkwy
 #200
 Dallas, TX 75254
 CarBucks                                                                                                                                                        $27,540.00
 417 Woods Lake Rd
 Greenville, SC 29607
 Green Note Capital                                                                                                                                            $144,000.00
 1019 Avenue P Suite
 401
 Brooklyn, NY 11223
 JPMorgan Chase                                                                                                                                                  $19,869.60
 Bank
 P.O. Box 659754
 San Antonio, TX
 78265
 JPMorgan Chase                                                                                                                                                  $12,699.71
 Bank
 P.O. Box 659754
 San Antonio, TX
 78265
 National Funding                                                                                                                                              $140,000.00
 9530 Towne Centere
 Dr.
 San Diego, CA
 92121



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 Debtor    DFW Boat Specialists LLC dba AR Motors TX                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 NextGear Capital                                                                                                                                              $196,804.99
 Wholesale 11799
 North College
 Avenue
 Carmel, IN 46032
 WESTLAKE                                                                                                                                                      $141,072.00
 SERVICE INC
 4751 WILSHIRE
 BLVD SUITE 100
 LOS ANGELES, CA
 90010




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                      AMERICAN EXPRESS CLASSIC GOLD CARD
                      PO BOX 650448
                      Dallas, TX 75265

                      American Exprex Blue Business Plus
                      PO Box 981535
                      El Paso, TX 79998-1535

                      Axle Funding
                      14951 Dallas Pkwy #200
                      Dallas, TX 75254

                      CarBucks
                      417 Woods Lake Rd
                      Greenville, SC 29607

                      Green Note Capital
                      1019 Avenue P Suite 401
                      Brooklyn, NY 11223
                      JPMorgan Chase Bank
                      P.O. Box 659754
                      San Antonio, TX 78265

                      National Funding
                      9530 Towne Centere Dr.
                      San Diego, CA 92121

                      NextGear Capital
                      Wholesale 11799 North College Avenue
                      Carmel, IN 46032

                      WESTLAKE SERVICE INC
                      4751 WILSHIRE BLVD SUITE 100
                      LOS ANGELES, CA 90010
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                                           United States Bankruptcy Court
                                                   Eastern District of Texas
 In re   DFW Boat Specialists LLC dba AR Motors TX                                       Case No.
                                                                Debtor(s)                Chapter     11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for DFW Boat Specialists LLC dba AR Motors TX in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



  None [Check if applicable]




February 22, 2023                                 /s/ Eric A. Liepins
Date                                              Eric A. Liepins
                                                  Signature of Attorney or Litigant
                                                  Counsel for DFW Boat Specialists LLC dba AR Motors TX
                                                  Eric A. Liepins
                                                  12770 Coit Road
                                                  Suite 850
                                                  Dallas, TX 75251
                                                  972-991-5591 Fax:972-991-5788
                                                  eric@ealpc.com
